 Case 1:19-cr-00253-TSE Document 364 Filed 07/20/20 Page 1 of 5 PageID# 1879



             IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division
UNITED STATES OF AMERICA             :
                                     :
         v.                          : CRIMINAL NO. 1:19-CR-253-TSE
                                     :
KRISTOPHER DALLMANN,                 :
JARED EDWARD JAUREQUI                :
                                     :
                Defendants.          :

                       DEFENDANTS DALLMANN AND JAUREQUI
                          MOTION FOR RECONSIDERATION

       COMES NOW the Defendants, Kristopher Dallmann and Jared Edwards Jaurequi, by and

through counsel, and respectfully move this Honorable Court to reconsider the issuance of bench

warrants. In support of this Motion, Mr. Dallmann and Mr. Jaurequi state the following:

       Mr. Dallmann and Mr. Jaurequi acknowledge that they were not present for the court

hearings scheduled for July 9, 2020; however, they respectfully submit their non-appearance

was not committing willfully. The defendants had previously filed notices stating they intended

voluntarily appear for the July 9 court hearings. The defendants and counsel had prepared for the

hearings and filed a motion for defense witness testimony. Furthermore, Mr. Dallmann and Mr.

Jaurequi have previously appeared in the District and for Court voluntarily. Moreover, even with

the threat of potential incarceration, Mr. Jaurequi has voluntarily appeared for pretrial release

violation hearings.

       The circumstances surrounding the COVID-19 pandemic is unprecedented and not within

Mr. Dallmann's and Mr. Jaurequi's control. The COVID-19 crisis has changed the world and

every facet of society. We all have had to adapt and change how we interact with others to

reduce the spread of the virus. According to the CDC and health experts' guidelines, it is not

safe to congregate in large crowds and individuals must self-isolate if sick. Similarly, business
    Case 1:19-cr-00253-TSE Document 364 Filed 07/20/20 Page 2 of 5 PageID# 1880



and public facilities have adopted health screening protocols to reduce everyone's exposure to

COVID-19 while they operate safely. Mr. Dallmann and Mr. Jaurequi were scheduled to travel

on July 8, 2020, American Airlines flight, #2257, leaving Las Vegas, Nevada and arriving at

Washington/National DC in order to appear in Court for scheduled hearings on July 9, 2020.

American Airlines American Airlines requires passengers to submit to health screening

questions before they issue boarding passes. After Mr. Dallmann and Mr. Jaurequi disclosed

they had a recent COVID-19 test on July 1, however, the results were still pending, the airline

refused to honor the ticket and prohibited them from boarding the flight.

         The delay in COVID-19 test results is not unique to this case. It has been widely reported

that the delay in testing results are a contributing factor to the increase of coronavirus cases.

Some people have waited up to 14 days to receive test results. Mr. Dallmann and Mr. Jaurequi

were tested in the evening hours of July 1, only 6 days before their flight. The doctor advised

them to self-quarantine until they received a negative COVID-19 result and not travel during

self-quarantine. (Dkt. # 339, 354). Despite such medical advice, Mr. Dallmann and Mr. Jaurequi

packed their bags and attempted to fly to the District for the July 9 hearings.

         Notwithstanding the pending test results, Mr. Dallmann was experiencing and had

recently received medical attention for shortness of breath, a potentially COVID-19 symptom.

As of June 30, 2020, American Airlines inquires whether travelers have experienced COVID-19

symptoms or have been exposed to someone within the preceding 14 days.1           Therefore, Mr.

Dallmann and Mr. Jaurequi would not have passed the health screening and would not be

allowed to fly.




1
    https://www.aa.com/i18n/travel-info/coronavirus-updates.jsp (last visited July 18, 2020)
Case 1:19-cr-00253-TSE Document 364 Filed 07/20/20 Page 3 of 5 PageID# 1881



       Similarly, Mr. Dallmann is not in control over his illness and symptoms. Mr. Dallmann

is severely immunocompromised. His health began deteriorating in February 2020 and he began

seeking medical treatment in early March. Over the last few months, Mr. Dallmann has

experienced excessive cough, shortness of breath chest pains, fever, extreme fatigue and

nausea/vomiting, diarrhea. Additionally, he had a pneumonia respiratory infection. Given the

state of Mr. Dallmann's health, it is reasonable to expect that Mr. Dallmann will continue to

suffer from symptoms.

       Undersigned counsel understands that the United States Marshals Service served the

bench warrants on Mr. Dallmann and Mr. Jaurequi on July 16, 2020. They are being held in

detention in Las Vegas. This Court continued the hearings in his matter to September 17, 2020.

Given the reasons stated in Court and in the motion, the defendants would respectfully request

the Court reconsider the bench warrants and instead issue summons for the September court

appearance. Mr. Dallmann and Mr. Jaurequi submit they will voluntarily appear in Court.

       WHEREFORE, the defendants, through counsel, respectfully request this Honorable

Court to reconsider the issuance of the bench warrant.
Case 1:19-cr-00253-TSE Document 364 Filed 07/20/20 Page 4 of 5 PageID# 1882



                                        Respectfully Submitted,
                                        Kristopher Dallmann
                                        By Counsel

                                               /s/
                                        Vernida R. Chaney
                                        Chaney Law Firm PLLC
                                        4120 Leonard Drive
                                        Fairfax, VA 22030
                                        Tel: 703-879-6650
                                        Fax: 703-776-9008
                                        vchaney@chaneylawfirm.com


                                        Respectfully Submitted,
                                        Jared Edwards Jaurequi
                                        By Counsel

                                               /s/
                                        John O. Iweanoge II
                                        THE IWEANOGES' FIRM, PC
                                        Iweanoge Law Center
                                        1026 Monroe Street, NE
                                        Washington, DC 20017
                                        Tel: (202) 347- 7026
                                        Fax:(202) 347- 7108
                                        Email: joi@iweanogesfirm.com
Case 1:19-cr-00253-TSE Document 364 Filed 07/20/20 Page 5 of 5 PageID# 1883




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2020, I will file the foregoing pleading with the Clerk
of the Court using the CM/ECF system, which will then send a notification of such filing
(NEF) to all parties.




                                                          /s/
                                                   Vernida R. Chaney
                                                   Chaney Law Firm PLLC
                                                   4120 Leonard Drive
                                                   Fairfax, VA 22030
                                                   Tel. 703-879-6650
                                                   Fax 703-776-9008
                                                   vchaney@chaneylawfirm.com
